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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

                                                  )
 WALMART INC.,
                                                  )
                 Plaintiff,                       )
                                                  )
         v.                                       )      No. 4:20-cv-00817-SDJ
                                                  )
 U.S. DRUG ENFORCEMENT                            )
 ADMINISTRATION, et al.,                          )
                                                  )
                 Defendants.


          WALMART’S OPPOSITION TO DEFENDANTS’ MOTION TO STAY
                PARTIAL SUMMARY JUDGMENT BRIEFING

       Defendants have asked to be excused from even responding to Walmart’s motion for partial

summary judgment (ECF 21) until this Court resolves their just-filed motion to dismiss (ECF 43).

This Court should reject that request and instead order the briefing on both motions to proceed in

parallel in the normal course, so that all of the issues can be presented to the Court for expeditious

resolution. Defendants’ bifurcated approach threatens to delay the progress of this case, contrary

to the directive of the Federal Rules for declaratory judgment actions, and would be particularly

inappropriate here given that Walmart and others in the pharmacy industry need prompt legal

clarification of their statutory and regulatory duties. Parallel briefing of jurisdictional and merits

issues is ordinary practice, particularly in this District, where motions to dismiss do not even justify

a delay in responding to discovery. See L.R. 26(a). Defendants do not offer a compelling reason

to depart from that practice here. Indeed, the only particularized reason they offer—a desire to

keep the Government’s “legal theories” a secret from regulated parties (ECF 44 (“Stay Mot.”) at

2)—only underscores why Walmart was forced to initiate this litigation in the first place.


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       Defendants correctly observe that this Court must address any challenge to subject matter

jurisdiction “before reaching the merits.” (Stay Mot. at 2.) But it does not follow that the parties

cannot brief the merits issues “before jurisdiction is determined.” (Id.) To the contrary, where the

merits issues are purely legal ones that do not require discovery, “one combined briefing schedule”

maximizes judicial efficiency by presenting the court with the full panoply of dispositive issues at

the same time. Am. Hosp. Ass’n v. Dep’t of Health & Human Servs., No. CV 18-2112, 2018 WL

5777397, at *3 (D.D.C. Nov. 2, 2018); see also id. at *2 (“The Court agrees with plaintiffs that

postponing summary judgment briefing pending the resolution of the government’s anticipated

motion to dismiss would not serve the orderly disposition of this case.”).

       For that reason, briefing jurisdictional and merits issues on parallel, simultaneous tracks is

standard practice in the federal courts, including this one. See, e.g., Stragent LLC v. BMW of N.

Am., LLC, No. 6:16-CV-446, 2019 WL 3304703, at *1 (E.D. Tex. July 23, 2019); Parker v. Wells

Fargo Bank, N.A., No. 4:13-CV-281, 2015 WL 12953226, at *1 (E.D. Tex. Sept. 30, 2015);

Silvertooth v. Danlin Indus. Corp., No. 2:13-CV-204, 2014 WL 12689875, at *1 (E.D. Tex. Jan.

31, 2014); Dunlap v. Denison Indep. Sch. Dist., No. 4:09CV234, 2010 WL 3521750, at *6 (E.D.

Tex. Sept. 7, 2010); McGinnis v. Dodeka, LLC, No. 4:09CV334, 2010 WL 1856450, at *1 (E.D.

Tex. May 7, 2010); see also, e.g., Zirpolo v. Williams, No. 19-CV-2024, 2020 WL 3104078, at *1

(D. Colo. June 11, 2020); Harris v. Wilkie, No. 18-CV-0071, 2019 WL 1077343, at *1 (D. Colo.

Mar. 7, 2019). It is particularly routine in cases involving agency action, where the merits issues

are often purely legal. See Am. Hosp. Ass’n, 2018 WL 5777397, at *2-3 (explaining this point);

see also, e.g., Chamber of Commerce of U.S. v. IRS, No. 1:16-CV-944, 2017 WL 4682050, at *1

(W.D. Tex. Oct. 6, 2017) (addressing Defendants’ motion to dismiss on jurisdictional grounds

together with Plaintiff’s motion for summary judgment).

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       Defendants’ preferred course—waiting for the motion to dismiss to be briefed and decided

before they would even have to address the merits—would cause unnecessary delay if the Court

agrees with Walmart that it has jurisdiction. 1 Yet the Federal Rules contemplate “speedy” action

on declaratory judgment suits. See Fed. R. Civ. P. 57 (noting that “[t]he court may order a speedy

hearing of a declaratory-judgment action”); Donnely v. Mavar Shrimp & Oyster Co., 190 F.2d 409,

410 (5th Cir. 1951) ( “the court may order a speedy hearing of an action for declaratory judgment,

and may advance it on the calendar”). And, as the Complaint sets forth, Walmart and its

pharmacists need expeditious resolution because they face conflicting, contradictory guidance

about the scope and substance of the legal duties governing their ongoing conduct. (See generally

ECF 1.) The amici brief filed by the National Association of Chain Drug Stores and the American

Pharmacists Association confirms that pharmacies and pharmacists likewise “need and deserve

clarity regarding their obligations when filling prescriptions for controlled substances, so that they

can practice their profession without the threat of liability on all sides.” (ECF 39 at 1.) And the

Association of American Physicians and Surgeons has also sought consent from the parties to file

an amicus brief and will soon add its voice to the chorus asking this Court to help provide clarity.

With both the industry and doctors crying out for guidance, Defendants’ straightforward obligation

to defend their reading of the statute and regulations ought not be deferred.


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          Walmart will respond to Defendants’ motion to dismiss in due course. Suffice it to say,
for now, the following: Walmart’s suit falls squarely within the APA’s sovereign immunity waiver,
which (contrary to Defendants’ contention) is not limited to claims under the APA itself. See 5
U.S.C. § 702; Doe v. United States, 853 F.3d 792, 798-99 (5th Cir. 2017). As to the existence of
a “cause of action,” the whole point of the Declaratory Judgment Act is to allow a party to clarify
the legal relations between the parties if the defendant would have a federal cause of action to sue
the plaintiff (as Defendants agree they could). See, e.g., MedImmune, Inc. v. Genentech, Inc., 549
U.S. 118, 128-29 (2007). And a purely legal dispute over the rules governing a regulated party’s
primary conduct is quintessentially ripe for review under the Declaratory Judgment Act. See
Abbott Labs. v. Gardner, 387 U.S. 136, 152 (1967).
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       Nor do Defendants offer any specific, compelling reason for such a deferral. Their only

affirmative argument is that responding to Walmart’s partial summary judgment motion would

force the Government to “divulge its legal theories” and “tip its hand in a potential enforcement

action.” (Stay Mot. at 2.) Even putting aside that Defendants have already initiated enforcement

actions against other parties based on their aggressive constructions of the Controlled Substances

Act and its implementing regulations (ECF 21 at 11), that is a remarkable position. Again,

Walmart’s motion seeks declaratory relief about the scope of its duties under the statute and

regulations. Defendants’ insistence that sharing and defending the Government’s position on those

questions would give Walmart an unfair tactical advantage is reminiscent of the Roman Emperor

Nero, whose practice was reportedly “to post his edicts high on the columns so that they would be

harder to read and easier to transgress.” Antonin Scalia, The Rule of Law as a Law of Rules, 56

U. CHI. L. REV. 1175, 1179 (1989). Presumably the Emperor did not want to “tip his hand” either,

until he initiated an “enforcement action.” But such “secret law” is fundamentally anathema to

rule-of-law norms; the Fifth Circuit has called it an “abomination.” Stokes v. Brennan, 476 F.2d

699, 702 n.3 (5th Cir. 1973) (citation omitted). This Court certainly should not encourage its

perpetuation by indulging Defendants’ wish to continue to avoid publicly defending their legal

interpretations.

                                        CONCLUSION

       For these reasons, the Court should deny Defendants’ motion to stay.




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Dated: December 7, 2020            Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I certify that on December 7, 2020, I electronically filed this Opposition with the Clerk of
the Court using the CM/ECF system.




                                                     By: /s/ Clyde Siebman
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